      Case 14-50333-gs          Doc 94    Entered 06/24/14 11:38:19           Page 1 of 7



 1   Timothy A. Lukas, Esq.
     Nevada Bar No. 4678
 2   Joseph G. Went, Esq.
     Nevada Bar No. 9220
 3   HOLLAND & HART LLP
     9555 Hillwood Drive, 2nd Floor
 4   Las Vegas, Nevada 89134
     Tel: (702) 669-4600
 5   Fax: (702) 669-4650
     Email: jgwent@hollandhart.com
 6
     Attorneys for John Beach, Trustee of the
 7   Beach Living Trust dated January 22, 1999
 8                              UNITED STATES BANKRUPTCY COURT
 9                                        DISTRICT OF NEVADA
10    In re:                                                      Case No.: BK-N-14-50333-btb
                                                                  Chapter: 11
11    ANTHONY THOMAS and WENDI THOMAS
                                                                  [Lead Case – Jointly Administered]
12
           Affects AT EMERALD, LLC                               Case No.: BK-N-14-50331-btb
13         Affects all Debtors                                   Chapter: 11

14                                                                NOTICE OF SUBPOENA

15

16             PLEASE TAKE NOTICE that on the 20th day of June, 2014, a subpoena commanding

17   the appearance at deposition and the production of documents was issued for service on the

18   Person Most Knowledgeable of the Sarasota Vault, a copy of which is attached hereto.

19             Dated this 24th day of June, 2014.

20                                          HOLLAND & HART LLP

21                                                 /s/ Joseph G. Went
                                            By:_______________________
22                                             Timothy A. Lukas, Esq. (4678)
                                               Joseph G. Went, Esq. (9220)
23
                                               HOLLAND & HART LLP
24                                             9555 Hillwood Drive, 2nd Floor
                                               Las Vegas, Nevada 89134
25                                             Tel: (702) 669-4600
                                               Fax: (702) 669-4650
26                                             Email: jgwent@hollandhart.com

27                                              Attorneys for John Beach, Trustee of the
                                                Beach Living Trust dated January 22, 1999
28
                                                    Page 1 of 1
                         Case 14-50333-gs                Doc 94     Entered 06/24/14 11:38:19            Page 2 of 7

B 254 (Form 254 – subpoena for Rule 2004 Examination) (12/13)


                                  UNITED STATES BANKRUPTCY COURT
                                                    MIDDLE DISTRICT OF FLORIDA

In re:
                                                                          CASE NUMBER: BK-S-14-50333-BTB
ANTHONY THOMAS and WENDI THOMAS                                                             BK-N-14-503331-BTB*
                                                                                            [Jointly Administered]
       Affects AT EMERALD, LLC
       Affects all Debtors                                               Chapter 11

                                                                          *Matters pending in the United States Bankruptcy
                                         Debtors.                         Court for the District of Nevada


                                          SUBPOENA FOR RULE 2004 EXAMINATION
TO:       PERSON MOST KNOWLEDGEABLE OF THE SARASOTA VAULT

 Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination under
Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.

          See attached Exhibit A for listing of topics.
PLACE                                                                                              DATE AND TIME
                                                                                                     July 10, 2014
640 S. Washington Blvd., Suite 125, Sarasota, Florida 34236                                          9:00 a.m.

The examination will be recorded by this method: Stenographical before a Notary Public or some other authorized officer

 Production:You, or your representatives, must also bring with you to the examination the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:

          See attached Exhibit B.

         The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are attached
– Rule 45(c), relating to the place of compliance; Rule 45(c), relating to your protection as a person subject to a subpeona; and Rule
45(e) and (g), relating to your duty to respond to this subpoena and the potential consequences of not doing so.

Date:     June 20, 2014
                               CLERK OF COURT
                                                                    OR
                                                                                  /s/ Joseph G. Went, Esq.

                               Signature of Clerk or Deputy Clerk                 Attorney’s signature


The name, address, email address and telephone number of the attorney representing (name of party)
        John Beach, Trustee of the Beach Living Trust dated January 22, 1999                    , who issues or requests this
subpoena, are:

TIMOTHY A. LUKAS, ESQ./JOSEPH G. WENT, ESQ., Holland & Hart LLP, 9555Hillwood Drive, Second Floor, Las Vegas,
Nevada 89134, Tel: (702) 669-4600, tlukas@hollandhart.com and jgwent@hollandhart.com
                           Case 14-50333-gs                  Doc 94          Entered 06/24/14 11:38:19                       Page 3 of 7

                                                      Notice to the person who isses or requests this subpeona
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the inspection of premises before trial, a notice and a
copy of this subpoena must be served on each party before it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4)
      Case 14-50333-gs        Doc 94     Entered 06/24/14 11:38:19       Page 4 of 7



                                       EXHIBIT A

1.   The storage and maintenance of the 23 kilogram black schist stone including a green
     crystal beryl (natural emerald) and other similar material (the “Thomas Emerald”)
     allegedly owned by Debtor AT Emerald, LLC (“Debtor”).

2.   The account(s) of Debtor with the Sarasota Vault.

3.   The Debtor’s depository or vault agreement.

4.   The full history of access to the Thomas Emerald while it has been stored at the Sarasota
     Vault.

5.   The full history of access to any other vault maintained by Debtor at Sarasota Vault.
       Case 14-50333-gs        Doc 94      Entered 06/24/14 11:38:19      Page 5 of 7



                                           EXHIBIT B

1.    The 23 kilogram black schist stone including a green crystal beryl (natural emerald)
      and/or other similar material (the “Thomas Emerald”) allegedly owned by the above-
      captioned Debtor AT Emerald, LLC (“Debtor”).

2.    All documents related to any accounts for Debtor.

3.    Debtor’s depository/vault agreement with Sarasota Vault.

4.    All access logs to Debtor’s vault.

5.    All electronically stored information showing access to the Thomas Emerald.

6.    All electronically stored information showing access to the Debtor’s vault.

7.    Surveillance tapes showing access to the Debtor’s vault.

8.    All records showing access to the Debtor’s vault.

9.    All account statements related to Debtor’s vault or agreement with Sarasota Vault.

10.   All correspondence related to Debtor’s vault or agreement with Sarasota Vault.
       Case
       Case 14-50333-btb
            14-50333-gs Doc
                         Doc 94
                             82 Entered
                                Entered 06/24/14
                                        06/23/14 11:38:19
                                                 15:53:56 Page
                                                          Page 61 of
                                                                  of 72



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  4
   Entered on Docket
___________________________________________________________________
   5June 23, 2014

  6

  7

  8   Timothy A. Lukas, Esq.
      Nevada Bar No. 4678
  9   Joseph G. Went, Esq.
      Nevada Bar No. 9220
 10   HOLLAND & HART LLP
      9555 Hillwood Drive, 2nd Floor
 11   Las Vegas, Nevada 89134
      Tel: (702) 669-4600
 12   Fax: (702) 669-4650
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 13
      Attorneys for John Beach, Trustee of the
 14   Beach Living Trust dated January 22, 1999
 15                              UNITED STATES BANKRUPTCY COURT
 16                                       DISTRICT OF NEVADA
 17    In re:                                                  Case No.: BK-N-14-50333-btb
                                                               Chapter: 11
 18    ANTHONY THOMAS and WENDI THOMAS
                                                               [Lead Case – Jointly Administered]
 19
             Affects AT EMERALD, LLC                          Case No.: BK-N-14-50331-btb
 20          Affects all Debtors                              Chapter: 11

 21                                                            ORDER GRANTING EX PARTE
                                                               MOTION FOR ORDER
 22                                                            REQUIRING THE PERSON MOST
                                                               KNOWLEDGEABLE OF THE
 23                                                            SARASOTA VAULT TO APPEAR
                                                               FOR EXAMINATION AND TO
 24                                                            PERMIT INSPECTION OF
                                                               TANGIBLE THINGS PURSUANT
 25                                                            TO FED R. BANKR. P. 2004

 26               This Court having reviewed the Ex Parte Motion for an Order Requiring the Person
 27   Most Knowledgeable of the Sarasota Vault to Appear for Examination and to Permit Inspection
 28
                                                 Page 1 of 2
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      Case
      Case 14-50333-btb
           14-50333-gs Doc
                        Doc 94
                            82 Entered
                               Entered 06/24/14
                                       06/23/14 11:38:19
                                                15:53:56 Page
                                                         Page 72 of
                                                                 of 72



 1   of Tangible Things Pursuant to Fed. R. Bankr. P. 2004 (the “Motion”) submitted by John Beach

 2   (“Beach”), as trustee of the Beach Living Trust dated January 22, 1999 (the “Beach Trust”), and

 3   good cause appearing therefore,

 4               IT IS HEREBY ORDERED that the Motion is GRANTED;

 5               IT IS FURTHER ORDERED that the Person Most Knowledgeable of the Sarasota

 6   Vault shall appear for an examination under oath as to any matter permitted by Fed. R. Bankr. P.

 7   2004, by counsel for the Beach Trust, and other interested parties who appear at Sarasota Vault,

 8   640 South Washington Boulevard, Suite 125, Sarasota, Florida, 34236, on July 10, 2014 at

 9   9:00 a.m. (or at such other mutually agreeable location, date and time) and continuing from day

10   to day thereafter until completion.

11               IT IS SO ORDERED.

12   Respectfully Submitted By:

13   HOLLAND & HART LLP

14          /s/ Joseph G. Went
15   By:_______________________
        Timothy A. Lukas, Esq.
16      Nevada Bar No. 4678
        Joseph G. Went, Esq.
17      Nevada Bar No. 9220
        9555 Hillwood Drive, Second Floor
18      Las Vegas, Nevada, 89134
        Attorneys for John Beach, Trustee of the
19      Beach Living Trust dated January 22, 1999
20

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                                               Page 2 of 2
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